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1    Peter A. Arhangelsky, Esq. (SBN 291325)
     parhangelsky@emord.com
2    Joshua S. Furman, Esq. (pro hac vice)
     jfurman@emord.com
3    Eric J. Awerbuch, Esq. (pro hac vice)
     eawerbuch@emord.com
4    Emord & Associates, P.C.
     2730 S. Val Vista Dr., Bldg. 6, Ste. 133
5    Gilbert, AZ 85295
     Phone: (602) 388-8899
6    Fax: (602) 393-4361
7    Attorneys for Plaintiff

8
9                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
      NATURAL-IMMUNOGENICS                Case No. 8:15-cv-02034-JVS (JCG)
12    CORP.,
13
                        Plaintiff,        DECLARATION OF JOSHUA S.
14         v.                             FURMAN IN SUPPORT OF NIC’S
                                          MOTION FOR PARTIAL SUMMARY
15                                        ADJUDICATION ON COUNT II
      PACIFIC TRIAL ATTORNEYS, et
16    al.,
17
                       Defendants.        Hearing Date:   June 14, 2021
18                                        Time:           1:30 PM
19                                        Courtroom:       10C
                                          Judge:          Hon. James V. Selna
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     Case 8:15-cv-02034-JVS-JCG Document 1108 Filed 04/27/21 Page 2 of 28 Page ID
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1                   DECLARATION OF JOSHUA S. FURMAN
2          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
3    following is true and correct:
4          1.      I, Joshua S. Furman, am over the age of 18 and competent to testify to
5    the information below.     All matters contained herein are of my own personal
6    knowledge unless stated as based upon information and belief. I am counsel of
7    record for Natural Immunogenics Corp. (“NIC”) in the above-captioned matter. I
8    am an attorney in the law firm of Emord & Associates, P.C.
9          2.      On April 16, 2021, NIC served a meet-and-confer letter regarding
10   NIC’s intent to file a motion for summary adjudication of Defendants’ affirmative
11   defense of unclean hands.        The parties met and conferred through counsel by
12   telephone on April 19, 2021.        The parties were unable to resolve this dispute
13   informally.
14         3.      NIC took the deposition of Scott J. Ferrell on March 30, 2021 in Santa
15   Ana, California. NIC appeared remotely. A true and correct copy of the transcript
16   from that deposition is attached as Exhibit 1. NIC has excerpted pages from the
17   transcript for brevity.
18         4.      A true and correct copy of the Statement of Information filed and
19   marked with the State of California Secretary of State is attached as Exhibit 2.
20         5.      Attached as Exhibit 3 is a true and correct copy of the document
21   produced by the Newport Trial Group and marked with the Bates No. NTG067215-
22   16.
23         6.      NIC took the deposition of David Reid on March 31, 2021 in Santa
24   Ana, California. A true and correct copy of the transcript from that deposition is
25   attached as Exhibit 4. NIC has excerpted pages from the transcript for brevity.
26         7.      NIC took the 30(b)(6) Newport Trial Group Deposition on April 1,
27   2021 in Santa Ana, California. A true and correct copy of the transcript from that
28   deposition is attached as Exhibit 5.

                                DECLARATION OF JOSHUA FURMAN
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1          8.     Attached as Exhibit 6 is a true and correct copy of the document
2    produced by Defendant Newport Trial Group and marked with the Bates Nos.
3    NTG006229-NTG006235.
4          9.     Attached as Exhibit 7 is a true and correct copy of the document
5    produced by Defendant Newport Trial Group and marked with Bates Nos.
6    NTG006168-NTG006174.
7          10.    NIC took the deposition of Victoria Campbell Knowles on July 31,
8    2020 in Costa Mesa, California. A true and correct copy of the transcript from that
9    deposition is attached as Exhibit 8. NIC has excerpted pages from the transcript for
10   brevity.
11         11.    NIC took the deposition of Ryan Mark Ferrell on October 29, 2020 in
12   Gilbert, Arizona. A true and correct copy of the transcript from that deposition is
13   attached as Exhibit 9. NIC has excerpted pages from the transcript for brevity.
14         12.    Attached as Exhibit 10 is a true and correct copy of the Consent to
15   Disbarment of Ryan M. Ferrell dated May 20, 2019.
16         13.    Attached as Exhibit 11 is a true and correct copy of the Judgement of
17   Disbarment of Ryan M. Ferrell dated May 22, 2019.
18         14.    Attached as Exhibit 12 is a true and correct of the Order of the United
19   States Court of Appeal for the Ninth Circuit in the matter of Ryan M. Ferrell, Case
20   No. 19-80072 at Dkt. 3.c
21         15.    NIC took the deposition of Wynn Ferrell on August 21, 2020 in
22   Chandler, Arizona. A true and correct copy of the transcript from that deposition is
23   attached as Exhibit 13. NIC has excerpted pages from the transcript for brevity.
24         16.    NIC took the deposition of Andrew Lee Baslow on August 26, 2020 in
25   Costa Mesa, California. A true and correct copy of the transcript from that deposition
26   is attached as Exhibit 14. NIC has excerpted pages from the transcript for brevity.
27         17.    NIC took the deposition of Andrew Baslow on August 9, 2017 in Irvine,
28   California. A true and correct copy of the transcript from that deposition is attached

                                DECLARATION OF JOSHUA FURMAN
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1    as Exhibit 15. NIC has excerpted pages from the transcript for brevity
2          18.   Attached as Exhibit 16 is a true and correct copy of the document
3    produced by Defendant Newport Trial Group and marked with Bates No.
4    NTG014605-NTG014606.
5          19.   Attached as Exhibit 17 is a true and correct copy of the document
6    produced by Defendant Newport Trial Group and marked with Bates No.
7    NTG006665.
8          20.   Attached as Exhibit 18 is a true and correct copy of the document
9    produced by Newport Trial Group and marked with Bates Nos. NTG005197-
10   NTG005199.
11         21.   Attached as Exhibit 19 is a true and correct copy of the document
12   produced by Chromadex and marked with Bates No. CHROMADE00178.
13         22.   Attached as Exhibit 20 is a true and correct copy of the documents
14   produced by Defendant Newport Trial Group and marked with Bates No.
15   NTG041926.
16         23.   Attached as Exhibit 21 is a true and correct copy of the document
17   produced by Defendant Newport Trial Group and marked with Bates Nos.
18   NTG066663-NTG066670.
19         24.   Attached as Exhibit 22 is a true and correct copy of the documents
20   produced by Defendant Newport Trial Group and marked with Bates Nos.
21   NTG066638-NTG066659.
22         25.   Attached as Exhibit 23 is a true and correct copy of the phone records
23   of Andrew Baslow produced by AT&T as Exhibit A.
24         26.   Attached as Exhibit 24 is a true and correct copy of the documents
25   produced by Defendant Sam Schoonover and marked with Bates Nos.
26   SCHOONOVER000066-SCHOONOVER00074, SCHOONOVER00080.
27         27.   Attached as Exhibit 25 is a true and correct copy of the documents
28   produced by Defendant Sam Schoonover and marked with Bates Nos.

                               DECLARATION OF JOSHUA FURMAN
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1    SCHOONOVER00082-SCHOONOVER00092.
2          28.     Attached as Exhibit 26 is a true and correct copy of the documents
3    produced by Defendant Sam Schoonover and marked with Bates Nos.
4    SCHOONOVER00001.
5          29.     Attached as Exhibit 27 is a true and correct copy of the documents
6    produced by Defendant Newport Trial Group and marked with Bates Nos.
7    NTG005982-NTG00593.
8          30.     Attached as Exhibit 28 is a true and correct copy of the Affidavit of
9    Rafael Cervantes and supporting documents produced by Himalaya Drug.
10         31.     Attached as Exhibit 29 is a true and correct copy of the documents
11   produced by Defendant Sam Schoonover and marked with Bates Nos.
12   SCHOONOVER00002.
13         32.     NIC took the deposition of Samuel Schoonover on January 11, 2017 in
14   Los Angeles, California. A true and correct copy of the transcript from that
15   deposition is attached as Exhibit 30. NIC has excerpted pages from the transcript
16   for brevity
17         33.     Attached as Exhibit 31 is a true and correct copy of the document
18   produced by Defendant Newport Trial Group and marked with Bates No.
19   NTG005986.
20         34.     Attached as Exhibit 32 is a true and correct copy of the document
21   produced by Defendant Newport Trial Group and marked with Bates No.
22   NTG006150.
23         35.     Attached as Exhibit 33 is a true and correct copy of the document
24   produced by Defendant Newport Trial Group and marked with Bates No.
25   NTG006151.
26         36.     Attached as Exhibit 34 is a true and correct copy of the documents
27   produced by Defendant Newport Trial Group and marked with Bates Nos.
28   NTG006161-NTG006167.

                                DECLARATION OF JOSHUA FURMAN
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1          37.    Attached as Exhibit 35 is a true and correct copy of the documents
2    produced by Defendant Newport Trial Group and marked with Bates Nos.
3    NTG006229-NTG006235.
4          38.    Attached as Exhibit 36 is a true and correct copy of the documents
5    produced by Defendant Newport Trial Group and marked with Bates Nos.
6    NTG006386-NTG006387.
7          39.    Attached as Exhibit 37 is a true and correct copy of the documents
8    produced by Defendant Newport Trial Group and marked with Bates No.
9    NTG006410.
10         40.    Attached as Exhibit 38 is a true and correct copy of Defendant Newport
11   Trial Group’s Responses to Plaintiff Natural Immunogenic Corp’s Interrogatories
12   [Set One].
13         41.    Attached as Exhibit 39 is a true and correct copy of the documents
14   produced by Defendant Newport Trial Group and marked with Bates Nos.
15   NTG000239-NTG000240.
16         42.    NIC took the deposition of Taylor Demulder on May 12, 2017 in Las
17   Vegas, Nevada. A true and correct copy of the transcript from that deposition is
18   attached as Exhibit 40. NIC has excerpted pages from the transcript for brevity.
19         43.    Attached as Exhibit 41 is a true and correct copy of the documents
20   produced by Defendant Newport Trial Group and marked with Bates No.
21   NTG000241.
22         44.    Attached as Exhibit 42 is a true and correct copy of the documents
23   produced by Chromadex, Inc. and marked with Bates No. CHROMADEX00178.
24         45.    Attached as Exhibit 43 is a true and correct copy of the documents
25   produced by Defendant Newport Trial Group and marked with Bates No.
26   NTG006666-NTG006667.
27         46.    Attached as Exhibit 44 is a true and correct copy of the documents
28   produced by Defendant Newport Trial Group and marked with Bates No.

                               DECLARATION OF JOSHUA FURMAN
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1    NTG006669.
2          47.    Attached as Exhibit 45 is a true and correct copy of the document
3    produced by Defendant Newport Trial Group and marked with Bates No.
4    NTG006672.
5          48.    Attached as Exhibit 46 is a true and correct copy of the document
6    produced by Defendant Newport Trial Group and marked with Bates No.
7    NTG006696.
8          49.    Attached as Exhibit 47 is a true and correct copy of the document
9    produced by Defendant Newport Trial Group and marked with Bates No.
10   NTG006687.
11         50.    Attached as Exhibit 48 is a true and correct copy of the document
12   produced by Defendant Newport Trial Group and marked with Bates Nos.
13   NTG017138-NTG017139.
14         51.    Attached as Exhibit 49 is a true and correct copy of the document
15   produced by Defendant Newport Trial Group and marked with Bates No.
16   NTG015268.
17         52.    Attached as Exhibit 50 is a true and correct copy of the phone records
18   of Raquel Torres produced by AT&T.
19         53.    Attached as Exhibit 51 is a true and correct copy of the documents
20   produced by Defendant Newport Trial Group and marked with Bates Nos.
21   NTG017134-NTG017135.
22         54.    NIC took the deposition of Raquel Torres on June 9, 2017 in Irvine,
23   California. A true and correct copy of the transcript from that deposition is attached
24   as Exhibit 52. NIC has excerpted pages from the transcript for brevity
25         55.    Attached as Exhibit 53 is a true and correct copy of the documents
26   produced by Nutrisystem, Inc. and marked with Bates Nos. NUTRI000001-
27   NUTRI000008.
28         56.    Attached as Exhibit 54 is a true and correct copy of the documents

                                DECLARATION OF JOSHUA FURMAN
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1    produced by Defendant Newport Trial Group and marked with Bates Nos.
2    NTG057947-NTG057948.
3          57.    Attached as Exhibit 55 is a true and correct copy of the documents
4    produced by Defendant Newport Trial Group and marked with Bates Nos.
5    NTG003307-NTG003308.
6          58.    Attached as Exhibit 56 is a true and correct copy of the documents
7    produced by Defendant Sam Pfleg and marked with Bates No. PFLEG000001.
8          59.    Attached as Exhibit 57 is a true and correct copy of the documents
9    produced by Defendant Newport Trial Group and marked with Bates No.
10   NTG011063.
11         60.    NIC took the deposition of Daniel Bobba on July 22, 2020 in San Jose,
12   California. A true and correct copy of the transcript from that deposition is attached
13   as Exhibit 58. NIC has excerpted pages from the transcript for brevity.
14         61.    Attached as Exhibit 59 is a true and correct copy of the documents
15   produced by Kiss My Face and marked with Bates Nos. KMF-000001-KMF000002.
16         62.    Attached as Exhibit 60 is a true and correct copy of the documents
17   produced by Defendant Newport Trial Group and marked with Bates Nos.
18   NTG003303-NTG003304.
19         63.    Attached as Exhibit 61 is a true and correct copy of the documents
20   produced by Defendant Newport Trial Group and marked with Bates Nos.
21   NTG003305-NTG003306.
22         64.    Attached as Exhibit 62 is a true and correct copy of the documents
23   produced by Nature’s Way Products, Inc. and marked with Bates Nos.
24   NATURE’SWAY_000238-NATURE’SWAY_000239
25         65.    Attached as Exhibit 63 is a true and correct copy of the January 30,
26   2012 letter to Vogue International, Inc. by Newport Trial Group.
27         66.    Attached as Exhibit 64 is a true and correct copy of the documents
28   produced by Nature’s Way Products, Inc. and marked with Bates Nos.

                                DECLARATION OF JOSHUA FURMAN
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1    NATURE’SWAY_000234-NATURE’SWAY_000235.
2          67.   Attached as Exhibit 65 is a true and correct copy of the documents
3    produced by Defendant Newport Trial Group and marked with Bates Nos.
4    NTG005126-NTG005127.
5          68.   Attached as Exhibit 66 is a true and correct copy of the documents
6    produced by Defendant Newport Trial Group and marked with Bates Nos.
7    NTG000209-NTG000213.
8          69.   Attached as Exhibit 67 is a true and correct copy of the documents
9    produced by Defendant Newport Trial Group and marked with Bates No.
10   NTG005129-NTG005131.
11         70.   Attached as Exhibit 68 is a true and correct copy of the documents
12   produced by Nature’s Way Products, Inc. and marked with Bates Nos.
13   NATURE’SWAY_000232-NATURE’SWAY_000233.
14         71.   Attached as Exhibit 69 is a true and correct copy of the documents
15   produced by Defendant Newport Trial Group and marked with Bates Nos.
16   NTG069938-NTG069939.
17         72.   Attached as Exhibit 70 is a true and correct copy of the documents
18   produced by Defendant Newport Trial Group and marked with Bates Nos.
19   NTG000132.
20         73.   Attached as Exhibit 71 is a true and correct copy of the documents
21   produced by Defendant Newport Trial Group and marked with Bates Nos.
22   NTG000248.
23         74.   Attached as Exhibit 72 is a true and correct copy of the documents
24   produced by Defendant Newport Trial Group and marked with Bates Nos.
25   NTG006177.
26         75.   Attached as Exhibit 73 is a true and correct copy of the documents
27   produced by Defendant Newport Trial Group and marked with Bates Nos.
28   NTG006390.

                             DECLARATION OF JOSHUA FURMAN
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1          76.    Attached as Exhibit 74 is a true and correct copy of the documents
2     produced by Defendant Newport Trial Group and marked with Bates Nos.
3     NTG041928.
4          77.    Attached as Exhibit 75 is a true and correct copy of the documents
5     produced by Defendant Newport Trial Group and marked with Bates Nos.
6     NTG006703.
7          78.    Attached as Exhibit 76 is a true and correct copy of the documents
8     produced by Defendant Newport Trial Group and marked with Bates Nos.
9     NTG006708.
10         79.    Attached as Exhibit 77 is a true and correct copy of the documents
11    produced by Defendant Newport Trial Group and marked with Bates Nos.
12    NTG007983.
13         80.    Attached as Exhibit 78 is a true and correct copy of the documents
14    produced by Defendant Newport Trial Group and marked with Bates Nos.
15    NTG014703.
16         81.    Attached as Exhibit 79 is a true and correct copy of the documents
17    produced by Defendant Newport Trial Group and marked with Bates Nos.
18    NTG015672.
19         82.    Attached as Exhibit 80 is a true and correct copy of the documents
20    produced by Defendant Newport Trial Group and marked with Bates Nos.
21    NTG015731.
22         83.    Attached as Exhibit 81 is a true and correct copy of the documents
23    produced by Defendant Newport Trial Group and marked with Bates Nos.
24    NTG01738.
25         84.    Attached as Exhibit 82 is a true and correct copy of the documents
26    produced by Defendant Newport Trial Group and marked with Bates Nos.
27    NTG022175.
28         85.    Attached as Exhibit 83 is a true and correct copy of the documents

                              DECLARATION OF JOSHUA FURMAN
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1     produced by Defendant Newport Trial Group and marked with Bates Nos.
2     NTG022177.
3          86.   Attached as Exhibit 84 is a true and correct copy of the documents
4     produced by Defendant Newport Trial Group and marked with Bates Nos.
5     NTG041954.
6          87.   Attached as Exhibit 85 is a true and correct copy of the documents
7     produced by Defendant Newport Trial Group and marked with Bates Nos.
8     NTG066224.
9          88.   Attached as Exhibit 86 is a true and correct copy of the documents
10    produced by Defendant Newport Trial Group and marked with Bates Nos.
11    NTG066344-NTG06635.
12         89.   Attached as Exhibit 87 is a true and correct copy of the documents
13    produced by Defendant Newport Trial Group and marked with Bates Nos.
14    NTG066453.
15         90.   Attached as Exhibit 88 is a true and correct copy of the documents
16    produced by Defendant Newport Trial Group and marked with Bates Nos.
17    NTG066728.
18         91.   Attached as Exhibit 89 is a true and correct copy of the documents
19    produced by Defendant Newport Trial Group and marked with Bates Nos.
20    NTG069926.
21         92.   Attached as Exhibit 90 is a true and correct copy of the documents
22    produced by Defendant Newport Trial Group and marked with Bates Nos.
23    NTG070527.
24         93.   Attached as Exhibit 91 is a true and correct copy of the documents
25    produced by Defendant Newport Trial Group and marked with Bates Nos.
26    NTG070767.
27         94.   Attached as Exhibit 92 is a true and correct copy of the documents
28    produced by Defendant Newport Trial Group and marked with Bates Nos.

                             DECLARATION OF JOSHUA FURMAN
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1     NTG070771.
2           95.    Attached as Exhibit 93 is a true and correct copy of the documents
3     produced by Defendant Newport Trial Group and marked with Bates Nos.
4     NTG071178.
5           96.    NIC took the 30(b)(6) Deposition of Nutrisystem, Inc. by and through
6     Wayne Crossman on February 27, 2018, in Philadelphia, Pennsylvania. A true and
7     correct copy of the transcript is attached as Exhibit 94 NIC has excerpted the
8     transcript for brevity.
9           97.    Attached as Exhibit 95 is a true and correct copy of Defendant Andrew
10    Nilon’s Responses and Objections to Plaintiff’s First Set of Interrogatories dated
11    July 25, 2016.
12          98.    Attached as Exhibit 96 is a true and correct copy of Defendant Sam
13    Pfleg’s Supplemental Responses and Objections to Plaintiff’s First Set of
14    Interrogatories dated May 22, 2017.
15          99.    Attached as Exhibit 97 is a true and correct copy of the Customer
16    Service Call Carter-Reed Company 1-800-506-1577 dated September 6, 2012.
17          100. Attached as Exhibit 98 is a true and correct copy of the documents
18    produced by Defendant Matthew Dronkers and marked with Bates No.
19    DRONKERS000001.
20          101. Attached as Exhibit 99 is a true and correct copy of Defendant Ryan
21    M. Ferrell’s Responses to Plaintiff’s Natural Immunogenic Corp’s Interrogatories
22    [Set One] dated July 11, 2016.
23          102. Attached as Exhibit 100 is a true and correct copy of the documents
24    produced by Defendant Sam Schoonover and marked with Bates No.
25    SCHNOONOVER00023.
26          103. Attached as Exhibit 101 is a true and correct copy of the document
27    produced by Defendant Newport Trial Group and marked with Bates No.
28    NTG022157.

                                DECLARATION OF JOSHUA FURMAN
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1          104. Attached as Exhibit 102 is a true and correct copy of the documents
2     produced by Defendant Newport Trial Group and marked with Bates No.
3     NTG066418.
4          105. Attached as Exhibit 103 is a true and correct copy of the documents
5     produced   by   Nature’s     Way   Products   and   marked   with   Bates   No.
6     NATURE’SWAY_000228-NATURE’SWAY_000229.
7          106. Attached as Exhibit 104 is a true and correct copy of the documents
8     produced by Defendant Newport Trial Group and marked with Bates No.
9     NTG003505.
10         107. Attached as Exhibit 105 is a true and correct copy of the documents
11    produced by Defendant Newport Trial Group and marked with Bates No.
12    NTG005061.
13         108. Attached as Exhibit 106 is a true and correct copy of the documents
14    produced by Nature’s Way Products, Inc. and marked with Bates No.
15    NATURE’SWAY_000104.
16         109. Attached as Exhibit 107 is a true and correct copy of the documents
17    produced by Nature’s Way Products, Inc. and marked with Bates No.
18    NATURE’SWAY_000025.
19         110. Attached as Exhibit 108 is a true and correct copy of the documents
20    produced by Defendant Newport Trial Group and marked with Bates Nos.
21    NTG005780-NTG005782.
22         111. Attached hereto as Exhibit 109 is a true and correct copy of the
23    documents produced by Nature’s Way Products, Inc. and marked with Bates Nos.
24    NATURE’SWAY_000001-NATURE’SWAY_000009.
25         112. Attached hereto as Exhibit 110 is a true and correct copy of the
26    documents produced by Nature’s Way Products, Inc. and marked with Bates Nos.
27    NATURE’SWAY_000045-NATURE’SWAY_000046
28         113. Attached as Exhibit 111 is a true and correct copy of the documents

                                 DECLARATION OF JOSHUA FURMAN
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1     produced by Defendant Newport Trial Group and marked with Bates Nos.
2     NTG022173.
3           114. Attached as Exhibit 112 is a true and correct copy of the documents
4     produced by Defendant Newport Trial Group and marked with Bates Nos.
5     NTG022179.
6           115. Attached as Exhibit 113 is a true and correct copy of Defendant Sam
7     Pfleg’s Responses and Objections to Plaintiff’s First Set of Interrogatories dated
8     August 15, 2016.
9           116. Attached as Exhibit 114 is a true and correct copy of Defendant Sam
10    Pfleg’s Supplemental Responses and Objection to Plaintiff’s First Set of
11    Interrogatories dated May 23, 2017.
12          117. NIC took the deposition of Andrew Nilon on June 7, 2017 in Irvine,
13    California. A true and accurate copy of the transcript is attached as Exhibit 115. NIC
14    has excerpted the transcript for brevity.
15          118. Attached as Exhibit 116 is a true and correct copy of the documents
16    produced by Defendant Andrew Nilon and marked with the Bates No.
17    NILON00051.
18          119. Attached as Exhibit 117 is a true and correct copy of the documents
19    produced by Giovanni Sandoval and marked with Bates No. SANDOVAL00001.
20          120. Attached as Exhibit 118 is a true and correct copy of Defendant Ryan
21    M. Ferrell’s Responses to Plaintiff Natural Immunogenic Corp.’s Interrogatories
22    [Set One] dated July 7, 2016.
23          121. Attached as Exhibit 119 is a true and correct copy of the document
24    produced by Defendant Newport Trial Group and marked with Bates No.
25    NTG011063.
26          122. Attached as Exhibit 120 is a true and correct copy of the document
27    produced by Defendant Newport Trial Group and marked with Bates No.
28    NTG006725.

                                 DECLARATION OF JOSHUA FURMAN
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1          123. Attached as Exhibit 121 is a true and correct copy of the document
2     produced by Defendant Newport Trial Group and marked with Bates No.
3     NTG063580.
4          124. Attached as Exhibit 122 is a true and correct copy of the document
5     produced by Defendant Newport Trial Group and marked with Bates No.
6     NTG067652.
7          125. Attached as Exhibit 123 is a true and correct copy of the documents
8     produced by Defendant Newport Trial Group and marked with Bates No.
9     NTG067900.
10         126. Attached as Exhibit 124 is a true and correct copy of the documents
11    produced by Defendant Newport Trial Group and marked with Bates No.
12    NTG06915.
13         127. Attached as Exhibit 125 is a true and correct copy of the documents
14    produced by Defendant Newport Trial Group and marked with Bates No.
15    NTG067585.
16         128. Attached as Exhibit 126 is a true and correct copy of the documents
17    produced by Defendant Newport Trial Group and marked with Bates No.
18    NTG062923 – NTG062967.
19         129. Attached as Exhibit 127 is a true and correct copy of the documents
20    produced by Defendant Newport Trial Group and marked with Bates No.
21    NTG067119-NTG067120.
22         130. Attached as Exhibit 128 is a true and correct copy of the documents
23    produced by Defendant Newport Trial Group and marked with Bates No.
24    NTG067534-NTG067541.
25         131. Attached as Exhibit 129 is a true and correct copy of the documents
26    produced by Defendant Newport Trial Group and marked with Bates No.
27    NTG062968-NTG062975.
28         132. Attached as Exhibit 130 is a true and correct copy of the documents

                             DECLARATION OF JOSHUA FURMAN
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1     produced by Defendant Newport Trial Group and marked with Bates No.
2     NTG067526-NTG067533.
3           133. Attached as Exhibit 131 is a true and correct copy of the documents
4     produced by Defendant Newport Trial Group and marked with Bates No.
5     NTG067515-NTG067521.
6           134. Attached as Exhibit 132 is a true and correct copy of the documents
7     produced by Defendant Newport Trial Group and marked with Bates No.
8     NTG067597-NTG067604.
9           135. Attached as Exhibit 133 is a true and correct copy of the documents
10    produced by Defendant Newport Trial Group and marked with Bates No.
11    NTG067882-NTG067884.
12          136. Attached as Exhibit 134 is a true and correct copy of the documents
13    produced by Defendant Newport Trial Group and marked with Bates No.
14    NTG065684.
15          137. Attached as Exhibit 135 is a true and correct copy of the documents
16    produced by Defendant Newport Trial Group and marked with Bates No.
17    NTG067483-NTG067484.
18          138. Attached as Exhibit 136 is a true and correct copy of the documents
19    produced by Defendant Newport Trial Group and marked with Bates No.
20    NTG066214-NTG066215.
21          139. NIC took the deposition of Jarrod Bentley on December 15, 2017 in
22    Irvine, California. A true and accurate copy of the transcript is attached as Exhibit
23    137. NIC has excerpted the transcript for brevity.
24          140. Attached as Exhibit 138 is a true and correct copy of the documents
25    produced by Defendant Newport Trial Group and marked with Bates No.
26    NTG070517 – NTG070519.
27          141. Attached as Exhibit 139 is a true and correct copy of the documents
28    produced by Defendant Newport Trial Group and marked with Bates No.

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1     NTG066239.
2          142. Attached as Exhibit 140 is a true and correct copy of the documents
3     produced by Defendant Newport Trial Group and marked with Bates No.
4     NTG070537.
5          143. Attached as Exhibit 141 is a true and correct copy of the documents
6     produced by Defendant Newport Trial Group and marked with Bates No.
7     NTG066296.
8          144. Attached as Exhibit 142 is a true and correct copy of the documents
9     produced by Defendant Newport Trial Group and marked with Bates No.
10    NTG071179.
11         145. Attached as Exhibit 143 is a true and correct copy of the documents
12    produced by Defendant Newport Trial Group and marked with Bates No.
13    NTG066011-NTG066012.
14         146. Attached as Exhibit 144 is a true and correct copy of the documents
15    produced by Defendant Newport Trial Group and marked with Bates No.
16    NTG066013-NTG066014.
17         147. Attached as Exhibit 145 is a true and correct copy of the documents
18    produced by Defendant Newport Trial Group and marked with Bates No.
19    NTG066041-NTG066042.
20         148. Attached as Exhibit 146 is a true and correct copy of the documents
21    produced by Defendant Newport Trial Group and marked with Bates No.
22    NTG066017-NTG066018.
23         149. Attached as Exhibit 147 is a true and correct copy of the documents
24    produced by Defendant Newport Trial Group and marked with Bates No.
25    NTG066015-NTG066016.
26         150. Attached as Exhibit 148 is a true and correct copy of the documents
27    produced by Defendant Newport Trial Group and marked with Bates No.
28    NTG066039-NTG066040.

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1          151. Attached as Exhibit 149 is a true and correct copy of the documents
2     produced by Defendant Newport Trial Group and marked with Bates No.
3     NTG066043-NTG066044.
4          152. Attached as Exhibit 150 is a true and correct copy of the documents
5     produced by Defendant Newport Trial Group and marked with Bates No.
6     NTG067194.
7          153. Attached as Exhibit 151 is a true and correct copy of the documents
8     produced by Defendant Newport Trial Group and marked with Bates No.
9     NTG067128.
10         154. Attached as Exhibit 152 is a true and correct copy of the documents
11    produced by Defendant Newport Trial Group and marked with Bates No.
12    NTG067126-NTG067127.
13         155. Attached as Exhibit 153 is a true and correct copy of the documents
14    produced by Defendant Newport Trial Group and marked with Bates No.
15    NTG070634.
16         156. Attached as Exhibit 154 is a true and correct copy of the documents
17    produced by Defendant Newport Trial Group and marked with Bates No.
18    NTG066354.
19         157. Attached as Exhibit 154 is a true and correct copy of the documents
20    produced by Defendant Newport Trial Group and marked with Bates No.
21    NTG070678.
22         158. Attached as Exhibit 155 is a true and correct copy of the documents
23    produced by Defendant Newport Trial Group and marked with Bates No.
24    NTG070661.
25         159. Attached as Exhibit 156 is a true and correct copy of the documents
26    produced by Defendant Newport Trial Group and marked with Bates No.
27    NTG070041-NTG070047.
28         160. Attached as Exhibit 157 is a true and correct copy of the documents

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                                           17
     Case 8:15-cv-02034-JVS-JCG Document 1108 Filed 04/27/21 Page 19 of 28 Page ID
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1     produced by Defendant Newport Trial Group and marked with Bates No.
2     NTG066420.
3           161. Attached as Exhibit 158 is a true and correct copy of the documents
4     produced by Defendant Newport Trial Group and marked with Bates No.
5     NTG066446.
6           162. Attached as Exhibit 159 is a true and correct copy of Defendant
7     Giovanni Sandoval, Jr.’s Responses and Objections to Plaintiff’s First Set of
8     Interrogatories dated July 25, 2016.
9           163. Attached as Exhibit 160 is a true and correct copy of the documents
10    produced by Defendant Newport Trial Group and marked with Bates No.
11    NTG070691.
12          164. Attached as Exhibit 161 is a true and correct copy of the documents
13    produced by Defendant Newport Trial Group and marked with Bates No.
14    NTG067133.
15          165. Attached as Exhibit 162 is a true and correct copy of the documents
16    produced by Defendant Newport Trial Group and marked with Bates No.
17    NTG069940.
18          166. Attached as Exhibit 163 is a true and correct copy of the documents
19    produced by Defendant Newport Trial Group and marked with Bates No.
20    NTG066373-NTG066374.
21          167. Attached as Exhibit 164 is a true and correct copy of the documents
22    produced by Defendant Newport Trial Group and marked with Bates No.
23    NTG070211.
24          168. Attached as Exhibit 165 is a true and correct copy of the documents
25    produced by Defendant Newport Trial Group and marked with Bates No.
26    NTG068854.
27          169. Attached as Exhibit 166 is a true and correct copy of the documents
28    produced by Defendant Newport Trial Group and marked with Bates No.

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1     NTG070553.
2          170. Attached as Exhibit 167 is a true and correct copy of the documents
3     produced by Defendant Newport Trial Group and marked with Bates No.
4     NTG070172-NTG070173.
5          171. Attached as Exhibit 168 is a true and correct copy of the documents
6     produced by Defendant Newport Trial Group and marked with Bates No.
7     NTG070209-NTG070210.
8          172. Attached as Exhibit 169 is a true and correct copy of the documents
9     produced by Defendant Newport Trial Group and marked with Bates No.
10    NTG066425.
11         173. Attached as Exhibit 170 is a true and correct copy of the documents
12    produced by Defendant Newport Trial Group and marked with Bates No.
13    NTG068999.
14         174. Attached as Exhibit 171 is a true and correct copy of the documents
15    produced by Defendant Newport Trial Group and marked with Bates No.
16    NTG071004-NTG071005.
17         175. Attached as Exhibit 172 is a true and correct copy of the documents
18    produced by Defendant Newport Trial Group and marked with Bates No.
19    NTG065733-NTG065734.
20         176. Attached as Exhibit 173 is a true and correct copy of the documents
21    produced by Defendant Newport Trial Group and marked with Bates No.
22    NTG065735-NTG065736.
23         177. Attached as Exhibit 174 is a true and correct copy of the documents
24    produced by Defendant Newport Trial Group and marked with Bates
25    No.NTG065737-NTG065738.
26         178. Attached as Exhibit 175 is a true and correct copy of the documents
27    produced by Defendant Newport Trial Group and marked with Bates No.
28    NTG065731-NTG065732.

                             DECLARATION OF JOSHUA FURMAN
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1          179. Attached as Exhibit 176 is a true and correct copy of the documents
2     produced by Defendant Newport Trial Group and marked with Bates No.
3     NTG066529-NTG066531.
4          180. Attached as Exhibit 177 is a true and correct copy of the documents
5     produced by Defendant Newport Trial Group and marked with Bates No.
6     NTG070216-NTG070217.
7          181. Attached as Exhibit 178 is a true and correct copy of the documents
8     produced by Defendant Newport Trial Group and marked with Bates No.
9     NTG070875-NTG070876.
10         182. Attached as Exhibit 179 is a true and correct copy of the documents
11    produced by Defendant Newport Trial Group and marked with Bates No.
12    NTG064115-NTG064116.
13         183. Attached as Exhibit 180 is a true and correct copy of the documents
14    produced by Defendant Newport Trial Group and marked with Bates No.
15    NTG063883-NTG063884.
16         184. Attached as Exhibit 181 is a true and correct copy of the documents
17    produced by Defendant Newport Trial Group and marked with Bates No.
18    NTG063450-NTG063451.
19         185. Attached as Exhibit 182 is a true and correct copy of the documents
20    produced by Defendant Newport Trial Group and marked with Bates No.
21    NTG063891-NTG063892.
22         186. Attached as Exhibit 183 is a true and correct copy of the documents
23    produced by Defendant Newport Trial Group and marked with Bates No.
24    NTG070398-NTG070403.
25         187. Attached as Exhibit 184 is a true and correct copy of the documents
26    produced by Defendant Newport Trial Group and marked with Bates No.
27    NTG067272-NTG067273.
28         188. Attached as Exhibit 185 is a true and correct copy of the documents

                             DECLARATION OF JOSHUA FURMAN
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1     produced by Defendant Newport Trial Group and marked with Bates No.
2     NTG066587-NTG066589.
3          189. Attached as Exhibit 186 is a true and correct copy of the documents
4     produced by Defendant Newport Trial Group and marked with Bates No.
5     NTG066584.
6          190. Attached as Exhibit 187 is a true and correct copy of the documents
7     produced by Defendant Newport Trial Group and marked with Bates No.
8     NTG066019-NTG066020.
9          191. Attached as Exhibit 188 is a true and correct copy of the documents
10    produced by Defendant Newport Trial Group and marked with Bates No.
11    NTG066758-NTG066759.
12         192. Attached as Exhibit 189 is a true and correct copy of the documents
13    produced by Defendant Newport Trial Group and marked with Bates No.
14    NTG066923.
15         193. Attached as Exhibit 190 is a true and correct copy of the documents
16    produced by Defendant Newport Trial Group and marked with Bates No.
17    NTG070572.
18         194. Attached as Exhibit 191 is a true and correct copy of the documents
19    produced by Defendant Newport Trial Group and marked with Bates No.
20    NTG066866-NTG066869.
21         195. Attached as Exhibit 192 is a true and correct copy of the documents
22    produced by Defendant Newport Trial Group and marked with Bates No.
23    NTG064149-NTG064151.
24         196. Attached as Exhibit 193 is a true and correct copy of the documents
25    produced by Defendant Newport Trial Group and marked with Bates No.
26    NTG069808-NTG069809.
27         197. Attached as Exhibit 194 is a true and correct copy of the documents
28    produced by Defendant Newport Trial Group and marked with Bates No.

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1     NTG066995-NTG066996.
2          198. Attached as Exhibit 195 is a true and correct copy of the documents
3     produced by Defendant Newport Trial Group and marked with Bates No.
4     NTG066998-NTG067001.
5          199. Attached as Exhibit 196 is a true and correct copy of the documents
6     produced by Defendant Newport Trial Group and marked with Bates No.
7     NTG067177-NTG067178.
8          200. Attached as Exhibit 197 is a true and correct copy of the documents
9     produced by Defendant Newport Trial Group and marked with Bates No.
10    NTG069923-NTG069925.
11         201. Attached as Exhibit 198 is a true and correct copy of the documents
12    produced by Defendant Newport Trial Group and marked with Bates No.
13    NTG066219.
14         202. Attached as Exhibit 199 is a true and correct copy of the documents
15    produced by Defendant Newport Trial Group and marked with Bates No.
16    NTG069930-NTG069934.
17         203. Attached as Exhibit 200 is a true and correct copy of the documents
18    produced by Defendant Newport Trial Group and marked with Bates No.
19    NTG066448.
20         204. Attached as Exhibit 201 is a true and correct copy of the documents
21    produced by Defendant Newport Trial Group and marked with Bates No.
22    NT070742.
23         205. Attached as Exhibit 202 is a true and correct copy of the documents
24    produced by Defendant Newport Trial Group and marked with Bates No.
25    NTG067515-NTG067521.
26         206. Attached as Exhibit 203 is a true and correct copy of the documents
27    produced by Defendant Newport Trial Group and marked with Bates No.
28    NTG067138-NTG067139.

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1           207. Attached as Exhibit 204 is a true and correct copy of the documents
2     produced by Defendant Newport Trial Group and marked with Bates No.
3     NTG066543.
4           208. Attached as Exhibit 205 is a true and correct copy of the documents
5     produced by Defendant Newport Trial Group and marked with Bates No.
6     NTG070172-NTG070173.
7           209. Attached as Exhibit 206 is a true and correct copy of Defendant Taylor
8     Demulder’s Responses and Objections to Plaintiff’s First Set of Interrogatories dated
9     August 15, 2016.
10          210. Attached as Exhibit 207 is a true and correct copy of the documents
11    produced by Defendant Newport Trial Group and marked with Bates No.
12    NTG058420-NTG058427.
13          211. NIC took the deposition of Andrew Baslow on February 7, 2013 in
14    Costa Mesa, California. Attached as Exhibit 208 is a true and accurate copy of the
15    transcript. NIC has excerpted the deposition for brevity.
16          212. Attached as Exhibit 209 is a true and correct copy of the August 24,
17    2015 Email from Andrew Nilon and marked with the subject Re: follow-up.
18          213. Attached as Exhibit 211 is a true and correct copy of the phone records
19    of Sam Pfleg produced by AT&T as Exhibit D.
20          214. Attached as Exhibit 212 is a true and correct copy of the Declaration
21    of Jason Jackson of AT&T supporting the phone records produced by AT&T.
22          215. Attached as Exhibit 213 is a true and correct copy of the privilege log
23    produced by Defendant Sam Pfleg and marked with his Supplemental Responses
24    and Objections to Plaintiff’s First Set of Requests for Production – Privileged Log
25    dated May 26, 2017.
26          216. Attached as Exhibit 214 is a true and correct copy of the phone records
27    of Andrew Nilon produced by Verizon Wireless.
28          217. Attached as Exhibit 215 is a true and correct copy of documents

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1     produced by Defendant Newport Trial Group and marked and marked with Bates
2     No. NTG015261.
3             218. Attached as Exhibit 216 is a true and correct copy of Defendant Sam
4     Schoonover’s Responses and Objections to Plaintiff’s First Set of Interrogatories
5     dated August 14, 2016.
6             219. Attached as Exhibit 217 is a true and correct copy of the Westlaw case
7     search for Harcol Research performed on April 25, 2021.
8             220. Attached as Exhibit 218 is a true and correct copy of the Westlaw case
9     search for Tawnsaura Group, LLC performed on April 25, 2021.
10            221. Attached as Exhibit 219 is a true and correct copy of the documents
11    produced by Defendant Newport Trial Group and marked and marked with Bates
12    No. NTG065618.
13            222. Attached as Exhibit 220 is a true and correct copy of the documents
14    produced by Defendant Newport Trial Group and marked and marked with Bates
15    No. NTG065753.
16            223. NIC took the deposition of Joshua Aaron Weiss on November 3, 2017
17    in Mission Viejo, California. Attached as Exhibit 221 is a true and accurate copy of
18    the transcript. NIC has excerpted the transcript for brevity.
19            224. NIC took the deposition of James Hardin, Esq. on August 11, 2017, in
20    Irvine, California. Attached as Exhibit 222 is a true and correct copy of the
21    transcript. NIC has excerpted the transcript for brevity.
22            225. Attached as Exhibit 223 is a true and correct copy of the phone
23    recording of Raquel Torres’s call to Nutrisystem Inc. On August 24, 2012 produced
24    by the Defendant Newport Trial Group. (Manually filed).
25            226. Attached as Exhibit 224 is a true and correct copy of Defendant Scott
26    J. Ferrell’s Responses to Plaintiff Natural Immunogenics Corp’s Interrogatories [Set
27    One].
28


                                 DECLARATION OF JOSHUA FURMAN
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1
2     Executed this 26th day of April, 2021 in Pima County, Arizona.
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4
5                                           /s/ Joshua S. Furman
6                                          Joshua S. Furman
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1                            CERTIFICATE OF SERVICE
2          I hereby certify that on April 27, 2021, the foregoing, DECLARATION
3     OF JOSHUA S. FURMAN IN SUPPORT OF NIC’S MOTION FOR
4     PARTIAL SUMMARY ADJUDICATION ON COUNT II was electronically
5     filed via the CM/ECF system and sent by that system to the following:
6
7          Brendan M. Ford [bford@forddiulio.com]
8          Kristopher P. Diulio [kdiulio@forddiulio.com]
           Ford & Diulio PC
9
           650 Town Center Drive, Suite 760
10         Costa Mesa, California 92626
           Tel: (714) 450-6830
11
           Attorney Defendants Andrew Nilon, Giovanni Sandoval,
12         Sam Schoonover, Matthew Dronkers, Taylor Demulder, Sam Pfleg
13
14         David J. Darnell, Esq. [ddarnell@callahan-law.com]
           Edward Susolik, Esq. [es@callahan-law.com]
15
           Callahan & Blaine
16         3 Hutton Centre Drive, Ninth Floor
17
           Santa Ana, CA 92707
           Tel: (714) 241-4444
18         Attorneys for Newport Trial Group and Scott Ferrell
19
20         Nicole Whyte [nwhyte@bremerwhyte.com]
21         Benjamin Price [bprice@bremerwhyte.com]
           Kyle A. Riddles [kriddles@bremerwhyte.com]
22         Bremer Whyte Brown & O’Meara, LLP
23         20320 S.W. Birch Street
           Second Floor
24         Newport Beach, CA 92660
25         Tel: (949) 211-1000
           Attorneys for Defendants Ryan Ferrell, Andrew Baslow, David Reid, and
26         Victoria Knowles
27
28


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1          Robert Tauler, Esq.
           rtauler@taulersmith.com
2          Tauler Smith, LLP
3          626 Wilshire Blvd., Suite 510
           Los Angeles, CA 90017
4
           Tel: (310) 590-3927
5          Attorney for David Reid and Victoria Knowles
6
7                                         /s/ Joshua S. Furman
                                         Joshua S. Furman, Esq.
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                             DECLARATION OF JOSHUA FURMAN
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